Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 1 of 10 PageID 90




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   CHRISTINA M. KINKAID,

              Plaintiff,
   v.                                  Case No. 8:11-cv-2288-T-33MAP

   ALLIED INTERSTATE, LLC,

              Defendant.

   ________________________________/

                                   ORDER

         This matter comes before the Court pursuant to Defendant

   Allied   Interstate,    LLC’s   Motion   to   Dismiss   Plaintiff’s

   Complaint with Prejudice for Failure to State a Claim upon

   Which Relief Can Be Granted (Doc. # 9), filed on December 28,

   2011. Plaintiff Christina M. Kinkaid filed a response in

   opposition to the Motion (Doc. # 11) on January 3, 2012.

   Having considered the parties’ arguments and being otherwise

   fully advised, the Court grants the Motion to Dismiss.

   I.    Background

         Kinkaid filed suit against Allied on October 11, 2011,

   alleging violation of the Fair Debt Collection Practices Act

   (FDCPA), 15 U.S.C. § 1692 et seq. (Doc. # 1). Kinkaid’s

   Complaint for Damages and Incidental Relief alleges that

   Allied sent Kinkaid a “dunning letter” for the purposes of

   collecting $625.05 that Kinkaid purportedly owed HSBC Bank
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 2 of 10 PageID 91




   Nevada N.A. (Id. at ¶¶ 6-8). A copy of the letter is attached

   to the Complaint as Exhibit A. (Id. at 10).

         The letter states, in pertinent part:

         Unless you notify us within 30 days after receiving
         this notice that you dispute the validity of the
         debt or any portion thereof, we will assume the
         debt is valid. If you notify this office in writing
         within 30 days after receiving this notice that you
         dispute the validity of this debt or any portion
         thereof, we will obtain verification of the debt or
         obtain a copy of a judgment and mail you a copy of
         such judgment or verification. If you request of us
         in writing with 30 days after receiving this
         notice, we will provide you with the name and
         address of the original creditor if different from
         the current creditor.

   (Id. at ¶ 11) (emphasis supplied by Plaintiff). Kinkaid

   alleges that Allied violated § 1692g of the FDCPA by failing

   to inform her of her right to debt verification in a manner

   that was not reasonably calculated to confuse or frustrate the

   least-sophisticated consumer. (Id. at ¶ 18). “In particular,

   defendant implied to the least sophisticated consumer that

   he/she had to notify defendant ‘in writing’ in order to

   dispute the validity of the purported debt in contravention of

   the plain language of the FDCPA.” (Id.).

   II.   Legal Standard

         On a motion to dismiss, this Court accepts as true all

   the allegations in the complaint and construes them in the

   light most favorable to the plaintiff. Jackson v. Bellsouth

                                    -2-
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 3 of 10 PageID 92




   Telecomms., 372 F.3d 1250, 1262 (11th Cir. 2004). Further,

   this Court favors the plaintiff with all reasonable inferences

   from the allegations in the complaint. Stephens v. Dep’t of

   Health & Human Servs., 901 F.2d 1571, 1573 (11th Cir. 1990).

         However, the Supreme Court explains that:

         While a complaint attacked by a Rule 12(b)(6)
         motion to dismiss does not need detailed factual
         allegations, a plaintiff’s obligation to provide
         the grounds of his entitlement to relief requires
         more than labels and conclusions, and a formulaic
         recitation of the elements of a cause of action
         will not do. Factual allegations must be enough to
         raise a right to relief above the speculative
         level.

   Bell Atl. Corp v. Twombly, 550 U.S. 544, 555 (2007) (internal

   quotations and citations omitted). A plausible claim for

   relief must include “factual content that allows the court to

   draw the reasonable inference that the defendant is liable for

   the misconduct alleged.” Ashcroft v. Iqbal, 129 S. Ct. 1937,

   1949 (2009). Courts are not “bound to accept as true a legal

   conclusion   couched   as   a   factual   allegation.”   Papasan   v.

   Allain, 478 U.S. 265, 286 (1986).

         The Court notes that the Motion to Dismiss has not been

   converted into a motion for summary judgment because the Court

   has not considered matters outside the pleadings. “Rule 7(a)

   defines ‘pleadings’ to include both the complaint and the

   answer, and Rule 10(c) provides that ‘[a] copy of any written

                                    -3-
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 4 of 10 PageID 93




   instrument which is an exhibit to a pleading is a part thereof

   for all purposes.’” Horsley v. Feldt, 304 F.3d 1125, 1134

   (11th Cir. 2002) (quoting Fed. R. Civ. P. 7(a) and 10(c)).

   Thus, the Court may consider Exhibit A to the Complaint

   without converting the Motion to Dismiss into one for summary

   judgment.

   III. Analysis

         Allied moves to dismiss the Complaint with prejudice

   pursuant to Federal Rule of Civil Procedure 12(b)(6), for

   failure to state a claim upon which relief can be granted.

   (Doc. # 3). Specifically, Allied asserts that no cause of

   action exists under the FDCPA for including language in a debt

   collection letter that is virtually identical to the language

   in the statute. (Id. at ¶ 6).

         “Section   1692g   of   the   FDCPA   requires   that   a   debt

   collector send a validation notice to the debtor, informing

   the debtor that he or she has thirty days to dispute the debt

   and to request the name and address of the original creditor.”

   Elliot v. GC Servs., LP, No. 8:10-cv-1976-T-24TBM, 2011 WL

   5975671, at *4 (M.D. Fla. Nov. 28, 2011). The statute states,

   in pertinent part:

         1692g. Validation of debts
         (a) Notice of debt; contents. Within five days
         after the initial communication with a consumer in

                                    -4-
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 5 of 10 PageID 94




         connection with the collection of any debt, a debt
         collector shall, unless the following information
         is contained in the initial communication or the
         consumer has paid the debt, send the consumer a
         written notice containing--
              (1) the amount of the debt;
              (2) the name of the creditor to whom the debt
              is owed;
              (3) a statement that unless the consumer,
              within thirty days after receipt of the
              notice, disputes the validity of the debt, or
              any portion thereof, the debt will be assumed
              to be valid by the debt collector;
              (4) a statement that if the consumer notifies
              the debt collector in writing within the
              thirty-day period that the debt, or any
              portion thereof, is disputed, the debt
              collector will obtain verification of the debt
              or a copy of the judgment against the consumer
              and a copy of such verification or judgment
              will be mailed to the consumer by the debt
              collector; and
              (5) a statement that, upon the consumer’s
              written request within the thirty-day period,
              the debt collector will provide the consumer
              with the name and address of the original
              creditor, if different from the current
              creditor.

   15 U.S.C. § 1692g(a). In other words, §§ 1692g(a)(4) and (5)

   impose an “in writing” requirement but § 1692g(a)(3) does not.

         The language in Allied’s Validation Notice correlates to

   language of the statute: The second and third sentences, which

   include the words “in writing,” mirror §§ 1692g(a)(4) and (5).

   The first sentence, pursuant to § 1692g(a)(3), does not

   include the words “in writing.” The question before this Court

   is whether the language in Allied’s Validation Notice--which


                                    -5-
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 6 of 10 PageID 95




   tracks the statutory language almost verbatim, with only minor

   alterations--is misleading or deceptive.

         In order to make that determination, the Court must

   consider the language in the Validation Notice from the

   perspective of the “least-sophisticated consumer.” Jeter v.

   Credit Bureau, Inc., 760 F.2d          1168, 1175 (11th Cir. 1985).

   The least-sophisticated consumer standard is more protective

   than the “reasonable consumer” standard developed under the

   Truth in Lending Act and is designed to protect the gullible

   as well as the shrewd. Id. at 1173.

         However, the standard “has an objective component in that

   while protecting naive consumers, [it] also prevents liability

   for bizarre or idiosyncratic interpretations of collection

   notices by preserving a quotient of reasonableness.” LeBlanc

   v. Unifund CCR Partners, 601 F.3d 1185, 1193 (11th Cir. 2010)

   (internal quotations and citations omitted). In applying this

   standard to determine whether Kinkaid has stated a plausible

   claim for relief, the Court must presume “that the ‘least-

   sophisticated consumer’ possesses a rudimentary amount of

   information about the world and a willingness to read a

   collection notice with some care.” Hepsen v. Resurgent Capital

   Servs., LP, 383 F. App’x 877, 881 (11th Cir. 2010).



                                    -6-
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 7 of 10 PageID 96




         Kinkaid insists that Allied’s letter, when read as a

   whole, leads the least-sophisticated consumer to believe that

   he or she must notify Allied in writing in order to dispute

   the validity of the debt pursuant to § 1392g(a)(3). (Doc. # 11

   at 7). For support she cites a number of cases, particularly

   Camacho v. Bridgeport Financial, Inc., 523 F.3d 973 (9th Cir.

   2005). However, Camacho involved a letter in which the debt

   collector had specifically added an “in writing” requirement;

   the question before the Court was whether § 1692g(a)(3)

   implicitly required consumers to dispute debts in writing--not

   whether the language in the letter might be confusing. Id. at

   976; see also Baez v. Wagner & Hunt, P.A., 442 F. Supp. 2d

   1273, 1276-77 (S.D. Fla. 2006) (discussing Camacho and finding

   that the addition of the phrase “in writing” to language

   adopted from § 1692g(a)(3) violated the FDCPA). The Court

   finds these cases to be inapposite as Kinkaid does not allege

   that Allied added such language in its letter.

         Furthermore, courts have held that debt collectors should

   not be penalized for stating the mandatory language of § 1692g

   verbatim. Hinckle v. Northland Grp., Inc., No. CV 311-084,

   2011 WL 6748504, at *4 (S.D. Ga. Nov. 22, 2011). “To permit

   such a claim would place debt collectors in an impossible

   situation, in that they would necessarily violate § 1692e’s

                                    -7-
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 8 of 10 PageID 97




   proscription on deceptive representations by including the

   language   and       would    necessarily      violate   §    1692(e)(11)     by

   leaving it out.” Id.

         Kinkaid contends that simply tracking the language of the

   statute    is    insufficient        to   comply     with     the   validation

   requirement,         citing    Swanson    v.    Southern      Oregon   Credit

   Services, Inc., 869 F.2d 1222 (9th Cir. 1988) and Muha v.

   Encore Receivable Management, Inc., 558 F.3d 623 (7th Cir.

   2009).    However,      Swanson      involved    a   letter    in   which    the

   Validation Notice was allegedly inconspicuous and overshadowed

   by other language, and Muha involved a letter that included a

   statement preceding the Validation Notice that was allegedly

   false. Again, the Court finds these cases to be inapposite to

   the   facts     of    this    case   as   Kinkaid    does     not   make    such

   allegations with regard to Allied’s Verification Notice.

         The crux of Kinkaid’s argument is that Allied confused

   the least-sophisticated consumer by including all elements of

   the Validation Notice in a single paragraph. She asserts that

   by placing the requirements of § 1692g(a)(3), (4) and (5) in

   separate enumerated paragraphs, Congress evinced its intent

   that the paragraphs be read separately and given separate

   meaning. By placing the three sentences in one paragraph,

   Allied allegedly changed that meaning. (Doc. # 11 at 12-13).

                                          -8-
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 9 of 10 PageID 98




         In support of this argument, Kinkaid cites Register v.

   Reiner, Reiner & Bendett, PC, 488 F. Supp. 2d 143 (D. Conn.

   2007). Kinkaid asserts that the Register court found the

   defendant’s collection letter led consumers to believe a

   dispute had to be put in writing because the letter’s language

   tied together all of the sentences in the Validation Notice.

   (Doc. # 11 at 12). Kinkaid further argues that Allied’s letter

   is “remarkably similar” to the letter in Register. However,

   the language of the letter in Register did not track the

   language of the statute, and the defendant conceded that the

   letter was worded to impose an “in writing” requirement. Id.

   at 146-47. As with Camacho, the Court finds Register to be

   inapposite to this case.

         The Court finds nothing in the language of the statute to

   support Kinkaid’s theory that the sentences prescribed by §

   1692g must be set forth in separate paragraphs. Furthermore,

   the Court remains unconvinced that the language in Allied’s

   Validation Notice is confusing to the least-sophisticated

   consumer   from    an   objective    perspective.         Kinkaid   has   not

   alleged    that    Allied    added      to,   fundamentally         altered,

   overshadowed      or   obscured   the     language   in    the   Validation

   Notice. Accordingly, the Court finds that the Complaint fails

   to specify sufficient facts to raise a right to relief above

                                       -9-
Case 8:11-cv-02288-VMC-MAP Document 18 Filed 05/03/12 Page 10 of 10 PageID 99




   a speculative level. See, e.g., Mahan v. Lab. Corp. of Am.,

   No. 10-00426-KD-M, 2011 WL 836674, at *2 (S.D. Ala. Mar. 9,

   2011) (dismissing § 1692g claim because only a consumer “who

   carelessly read the notice” could be confused by it).

         Accepting the allegations in the Complaint as true and

   construing them in the light most favorable to Kinkaid, the

   Court finds that Kinkaid has failed to state a plausible claim

   for   relief   under   the   FDCPA.   The   Court   therefore   grants

   Allied’s Motion to Dismiss.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

         Defendant Allied Interstate, LLC’s Motion to Dismiss

   Plaintiff’s Complaint with Prejudice for Failure to State a

   Claim upon Which Relief Can Be Granted (Doc. # 9) is GRANTED.

   This matter is dismissed. The Clerk is directed to enter

   judgment in favor of Defendant and close this case.

         DONE and ORDERED in Chambers in Tampa, Florida, this 2nd

   day of May, 2012.




   Copies:

   All Counsel of Record

                                    -10-
